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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES – GENERAL

     Case No. 2:22-cv-09203-MEMF-KS                                      Date: February 13, 2023

 Title: Clinton Brown v. Clark R. Taylor, AICP, The Los Angeles County Department of Regional
        Planning


 PRESENT: The Honorable MAAME EWUSI-MENSAH FRIMPONG, U.S. District Judge

                    Kelly Davis                                            None
                     Courtroom                                         Court Reporter
                    Deputy Clerk

            ATTORNEYS PRESENT FOR                             ATTORNEYS PRESENT FOR
                  PLAINTIFF:                                       DEFENDANT:
                 None Present                                       None Present

 PROCEEDINGS: (IN CHAMBERS) ORDER RE: Denial of Request to Proceed in forma
 pauperis

         On January 24, 2023, this Court denied Plaintiff Clinton Brown’s (“Brown”) Request to
 Proceed In forma pauperis (ECF No. 2) on the grounds that Brown had not demonstrated
 indigency and could thus afford to pay the filing fees. ECF No. 9. As a result of this denial, the
 Court hereby ORDERS Brown to pay the filing fees in the amount of $402 1 no later than five (5)
 days from the date of this Order.

 IT IS SO ORDERED.




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     As mandated by 28 U.S.C. § 1914.
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